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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

  WILLIAM ARMSTRONG, GLORIA ATKINS,
  JAMES BROOKS, CLOVER COFFIE, DEBRA
  JONES, SHANTE LEGRAND, DONALD                     Case No. 19-cv-80730-RS
  MCLEAN, ROBERT REIMBOLD, ELIJAH
  SMITH, and LINDA WELCHER, each individually       CLASS ACTION
  and on behalf of all others similarly situated;
                                                    Hon. Rodney Smith
        Plaintiffs,

  vs.

  UNITED STATES SUGAR CORPORATION,
  a Delaware corporation; SUGAR CANE
  GROWERS COOPERATIVE OF FLORIDA,
  a Florida not for profit corporation; FLORIDA
  CRYSTALS CORPORATION, a Delaware
  corporation; OKEELANTA CORPORATION,
  a Delaware corporation; OSCEOLA FARMS CO.,
  a Florida corporation; SUGARLAND HARVESTING
  CO., a Florida not for profit corporation;
  TRUCANE SUGAR CORPORATION,
  a Florida corporation; INDEPENDENT
  HARVESTING, INC., a Florida corporation; and
  J & J AG PRODUCTS, INC., a Florida corporation;

        Defendants
  ___________________________________________________

       MOTION OF DEFENDANTS UNITED STATES SUGAR CORPORATION,
    INDEPENDENT HARVESTING, INC., SUGARLAND HARVESTING CO., SUGAR
        CANE GROWERS COOPERATIVE OF FLORIDA, TRUCANE SUGAR
                CORPORATION, AND J & J AG PRODUCTS, INC.
  TO DISMISS PLAINTIFFS’ SECOND AMENDED CLASS ACTION COMPLAINT AND
                   SUPPORTING MEMORANDUM OF LAW
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         Defendants United States Sugar Corporation (“U.S. Sugar”), Independent Harvesting, Inc.

  (“Independent”), Sugarland Harvesting Co. (“Sugarland”), Sugar Cane Growers Cooperative of

  Florida (the “Cooperative”), Trucane Sugar Corporation (“Trucane”), and J & J Ag Products, Inc.

  (“J & J”) move to dismiss Plaintiffs’ Second Amended Class Action Complaint (“SAC”) pursuant

  to Fed. R. Civ. P. 8, 12(b)(1), and 12(b)(6). The above-named Defendants have worked diligently

  with other defendants to comply with the Court’s July 1, 2020 briefing order (Dkt. 134) and join

  Parts I (pleading), II (air modeling), IV (takings), and V (medical monitoring) of Defendant Florida

  Crystals Corporation’s Motion to Dismiss. We set out here our position on other issues.

                                          INTRODUCTION

         The Court previously dismissed Plaintiffs’ First Amended Complaint (“FAC”) because

  Plaintiffs’ allegations against the entire sugar industry across all of an approximately 675-square

  mile area were far too generic to plausibly trace their alleged injuries to each Defendant, as Article

  III standing requires. Coffie v. Florida Crystals Corp., 2020 WL 2739724, at *3-4 (S.D. Fla. May

  8, 2020). The Court allowed Plaintiffs an opportunity to amend to attempt to cure the standing

  deficiencies, subject to Rule 11. Id. at *4, 11. Plaintiffs responded by filing the SAC, which

  attempts to address standing by using air modeling without any actual air quality data. The SAC

  also adds two new claims, for taking property without just compensation under 42 U.S.C. § 1983

  and for battery (along with a new battery class). The Court did not grant Plaintiffs leave to amend

  to add new claims. The SAC should again be dismissed. The SAC still does not plausibly allege

  sufficient factual matter to establish Article III standing and the new claims fail.

         Plaintiffs still lack Article III standing. The most concrete and particularized injury alleged

  in the SAC involves cane ash falling on Plaintiffs’ properties and vehicles, but—contrary to the

  direction issued by the Court—the SAC makes no attempt to trace cane ash to each Defendant.

  Plaintiffs also claim that they were injured by smaller, invisible particulate matter and other

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  pollutants that allegedly cause respiratory issues and increase the risk of developing lung cancer.

  But the SAC offers no actual air quality data showing that injurious or any other levels of

  particulate matter or other pollutants even exist in the putative class area. The SAC instead relies

  on “preliminary” air models, generated by using unspecified inputs, that first attempt to project

  concentrations of pollutants at hypothetical “receptors” located throughout the putative class area

  and then attempt to trace those projected pollutants to each Defendant.

         The model results are demonstrably implausible. Remarkably, the models and the SAC

  entirely ignore actual, publicly-available air monitoring data from within the putative class area

  collected by the Palm Beach County Health Department (“PBCHD”) that are orders of magnitude

  below Plaintiffs’ projections and below the very U.S. National Ambient Air Quality Standards

  (“NAAQS”) that Plaintiffs invoke. Further showing their implausibility, Plaintiffs’ models project

  air quality that is comparable to or far worse than air quality in the vicinity of significantly larger

  emission events like the Mount St. Helens’ volcanic eruption and the recent massive Camp Fire in

  California. In short, Plaintiffs offer an unexplained model that spits out pure fiction—a conclusory

  set of numbers with no plausible basis—and does not come close to curing the standing defects

  the Court found in Plaintiffs’ prior complaint. Even at the pleading stage, Plaintiffs’ “preliminary”

  air models do not plausibly meet the elements of Article III standing.

         Even if Plaintiffs could establish Article III standing, their new battery claim fails as a

  matter of law. Plaintiffs’ battery claim is just a variation on the nuisance and trespass claims that

  the Court already dismissed under Florida’s Right to Farm Act (“RTFA”), Fla. Stat. § 823.14. The

  SAC also cannot allege that Defendants acted with the requisite intent to harm Plaintiffs when they

  performed sugarcane burns under permits duly-issued by the Florida Forest Service.




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                                           BACKGROUND

          Plaintiffs again challenge the practice of pre-harvest sugarcane burning, which is a safe,

  century-old method of harvesting that is strictly regulated and performed under permits issued

  daily by the Forest Service. Fla. Stat. § 590.125; Fla. Admin. Code § 5I.2.006. As the Court

  acknowledged, “preharvest burning is an acceptable agricultural practice”—even if Plaintiffs

  might prefer another method. Coffie, 2020 WL 2739724, at *5.

         Compared to the FAC, the SAC adds seven new Plaintiffs to the prior three for a total of

  ten. SAC ¶¶ 24-76.1 Plaintiffs now seek to represent a “Battery Class” in addition to a “Property

  Owner Class” and a “Medical Monitoring Class.” Id. ¶¶ 199-201. The SAC addresses the same

  putative class area as before consisting of approximately 675-square miles in and around the towns

  of Belle Glade, South Bay, Pahokee, Clewiston, Moore Haven, Canal Point, and Indiantown. Id.

  ¶¶ 4, 23 & Fig. 11. The only change there is that Plaintiffs have revised their label for the putative

  class area from the “Affected Area” to the “Hazard Zone.” Id. ¶ 23.

         In addition to dismissing the FAC for lack of Article III standing (Coffie, 2020 WL

  2739724, at *3-4), the Court previously dismissed Plaintiffs’ claims for nuisance and trespass with

  prejudice under the RTFA (id. at *4-6), dismissed Plaintiffs’ ultrahazardous activity claim with

  prejudice (id. at *9-10), and dismissed Plaintiffs’ medical monitoring claim without prejudice with

  leave to amend. Id. at *10-11. The Court allowed Plaintiffs’ claims for negligence and strict

  liability under Fla. Stat. § 376.313 to proceed if Plaintiffs could cure the Article III standing

  deficiencies, and Plaintiffs re-assert those claims here. SAC ¶¶ 212-26. The SAC also attempts to




  1
   The SAC originally added an eleventh Plaintiff, R. Butts, Inc., the only Plaintiff that would have
  been a business as opposed to an individual resident. SAC ¶¶45-47. R. Butts, Inc., however,
  decided not to pursue this lawsuit and dropped its claim. Dkt. 136.

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  replead the medical monitoring claim (id. ¶¶ 237-249) and, as noted above, adds new section

  1983/takings and battery claims. Id. ¶¶ 227-236, 250-54.

                                              ARGUMENT

          To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility” only “when the plaintiff pleads

  factual content that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.” Id. Courts insist upon “‘specificity in pleading’ … to avoid the

  potentially enormous expense of discovery in cases with no ‘reasonably founded hope’” of

  success. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558-59 (2007).

  I.      Plaintiffs Have Not Cured The Article III Standing Deficiencies.

          Article III standing requires that “plaintiff must have (1) suffered an injury in fact, (2) that

  is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed

  by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citing

  Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). The injury must be “concrete and

  particularized” and “‘actual or imminent, not ‘conjectural’ or ‘hypothetical.’’” Lujan, 504 U.S. at

  560-61. At the pleading stage, a “‘plaintiff must clearly allege facts demonstrating each element’”

  of Article III standing. Coffie, 2020 WL 2739724, at *3 (quoting Spokeo, 136 S. Ct. at 1547).

  Moreover, “‘standing is not dispensed in gross.’ To the contrary, ‘a plaintiff must demonstrate

  standing for each claim he seeks to press and for each form of relief sought.’” Town of Chester,

  N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017) (internal citations omitted).

          While Plaintiffs need not prove proximate causation at this stage, as the Court found, they

  “must still show that the injuries they allege are fairly traceable to each Defendant.” Coffie, 2020

  WL 2739724, at *3; see Spokeo, 136 S. Ct. at 1547 n.6 (“That a suit may be a class action … adds

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   nothing to the question of standing, for even named plaintiffs who represent a class must allege

   and show that they personally have been injured, not that injury has been suffered by other,

   unidentified members of the class to which they belong.”); Stewart v. Bureaus Inv. Grp. #1, LLC,

   24 F. Supp. 3d 1142, 1154 (M.D. Ala. 2014) (in a multi-defendant class action, “the class

   representative herself must have Article III standing to sue each named defendant”); Shamblin v.

   Obama for Am., 2015 WL 1754628, at *4 (M.D. Fla. Apr. 17, 2015) (“‘The plaintiff’s standing to

   bring an action against each defendant named in the Complaint must be established independently

   of [Rule] 23.’”); Pope v. City of Clearwater, 138 F.R.D. 141, 145 (M.D. Fla. 1991) (“‘The plaintiff

   must establish his personal standing to sue each defendant….’”).

          Although the SAC repeatedly conflates them, Plaintiffs raise two distinct purported

   consequences of sugarcane burning: (i) cane ash residue that allegedly falls on properties and

   vehicles (which Plaintiffs tendentiously label “black snow”) (SAC ¶ 7); and (ii) the emission of

   small, invisible particulate matter and other pollutants attached thereto that allegedly cause

   respiratory issues and increase the risk of developing lung cancer. Id. ¶¶ 16, 18, 134, 137, 142. As

   shown below, the SAC does not even attempt to trace cane ash residue to each Defendant. And as

   to particulate matter and other pollutants, the SAC does not adequately allege a concrete and

   particularized injury (e.g., that injurious levels of particulate matter or other pollutants actually

   exist), nor does it plausibly trace Plaintiffs’ alleged injuries to each Defendant.

          A.      Plaintiffs Have Not Plausibly Traced Cane Ash To Each Defendant.

          The SAC alleges that cane ash “drops like rain from the sky in pieces ¼ to ½ inch thick.”

   SAC ¶ 25. The SAC includes pictures of alleged cane ash accumulating on Plaintiffs’ properties

   and vehicles (id. Figs. 6, 12, 13, 21) and alleges that Plaintiffs have been required to wash their

   properties and vehicles on a regular basis. Id. ¶¶ 25-27, 32-34, 38-40, 49-50, 53-56, 64, 67-68, 71,

   74. Critically, however, the SAC does nothing to plausibly trace alleged cane ash on Plaintiffs’

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   properties or vehicles to any particular Defendant, let alone all of them, or to exclude ash from

   natural wildfires or from governmental burning, which occur regularly.

          With respect to cane ash, the SAC largely rehashes the same conclusory allegations from

   the FAC that Plaintiffs reside “in close proximity to many of Defendants’ sugarcane fields” (SAC

   ¶¶ 31, 37, 48, 52, 63, 66, 70, 73) that the Court already found insufficient. Coffie, 2020 WL

   2739724, at *2-3. Even when the SAC alleges that a Plaintiff resides “approximately 60 yards

   away” (SAC ¶ 38) or “blocks away” (id. ¶ 49) from “Defendants’ sugarcane fields,” the SAC is

   conspicuously silent on which Defendants’ sugarcane fields Plaintiffs are referencing. Nor does

   the SAC allege the wind direction on the days those fields were burned.

          The SAC includes maps showing the towns in the putative class area and the locations of

   historical burn events in “close proximity,” compiled from Forest Service permit data. SAC ¶ 141

   & Figs. 1-2, 22-27. Although the permit data reviewed by Plaintiffs would identify the applicant

   for each burn permit, the SAC is again conspicuously silent on identifying which Defendant (or

   other entity) farmed and conducted burns in close proximity to Plaintiffs and their properties. The

   SAC does not even attempt to provide a Defendant-by-Defendant breakdown. This is important

   because some Defendants burn more than others (e.g., SAC Fig. 33) and each Defendant’s

   farmland is concentrated in different parts of the putative class area.

          The SAC relies heavily on air modeling to attempt to trace Plaintiffs’ alleged injuries to

   each Defendant (SAC ¶¶ 12-15, 150-65), but Plaintiffs’ air model does not purport to model the

   dispersion of cane ash. To the contrary, the SAC alleges that the air model focused on tiny,

   invisible particulate matter and other pollutants measuring microns in diameter. Id. ¶ 151

   (identifying pollutant categories included in Plaintiffs’ air model, including particulate matter less

   than 10 microns (PM10), 2.5 microns (PM2.5), and 0.5 microns (PM0.5) in diameter); see id. ¶¶ 16,



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   142-43, 161. For perspective, a micron is one-millionth of a meter, and one inch contains 25,400

   microns. Thus, when Plaintiffs allege that cane ash ¼ to ½ of an inch thick fell on their properties

   (id. ¶ 25), they are addressing material that is approximately 6,350 to 12,700 microns thick—

   material much larger than the smaller, invisible particulate matter that they purported to model,

   and with entirely different properties. Plaintiffs’ models—which we explain below are defective

   even as to particulate matter—have no relevance whatever to much larger cane ash.

          The SAC also includes sample burn maps from the Forest Service depicting daily burns.

   SAC Fig. 7, 9, 10. While not entirely clear, Plaintiffs appear to allege that the maps depict the

   distance smoke—not cane ash—can travel, although Plaintiffs appear to suggest that cane ash can

   travel in the same direction. Id. ¶¶ 11, 145. Regardless, the SAC makes no effort to connect burns

   plotted on the maps to particular Defendants. The SAC does not even attempt to provide a

   Defendant-by-Defendant breakdown or to trace cane ash to each Defendant.

          Finally, the SAC includes pictures of sugarcane burns. Like the cane ash allegations, the

   SAC does not attempt to attribute the pictures to any particular Defendant at any particular location

   in the putative class area. Indeed, at least one picture in the SAC was taken in Maui, not Florida.

   SAC Fig. 19. Other pictures show smoke from sugarcane burns rising up into the otherwise blue

   sky (as they are designed to do), not impacting adjacent properties. Id. Fig. 4, 5, 15, 18. Even a

   picture purporting to show a burn in close proximity to houses shows smoke rising straight up,

   away from the houses. Id. Fig. 20. Plaintiffs’ pictures do not make up for the SAC’s failure to trace

   cane ash to each Defendant. To the contrary, the pictures demonstrate that any smoke is localized,

   evanescent, and does not uniformly cover the putative class area.




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          B.      Plaintiffs Have Not Adequately Alleged The Actual Presence Of Injurious Or
                  Any Other Level Of Particulate Matter And Other Pollutants, Let Alone
                  Plausibly Traced Those Pollutants To Each Defendant.

          With respect to the emission of small, invisible particulate matter and other pollutants, the

   SAC fails to adequately allege an injury that is “concrete and particularized,” not “‘conjectural’ or

   ‘hypothetical.’’” Lujan, 504 U.S. at 560-61. The SAC does not adequately allege that injurious

   levels of particulate matter and other pollutants are actually present in the putative class area, nor

   does it plausibly trace Plaintiffs’ alleged injuries to each Defendant.

          Importantly, unlike most cases where plaintiffs file suit over alleged contamination,

   Plaintiffs offer no actual air monitoring or other data to show the existence of injurious (or any

   other) concentrations of particulate matter or other pollutants. See, e.g., Adinolfe v. United Techs.

   Corp., 768 F.3d 1161, 1173 (11th Cir. 2014) (allowing toxic tort claims to survive dismissal where

   “plaintiffs alleged that they tested for and found contaminants [attributable to defendant] on at

   least some of [the] properties [at issue], and the plaintiffs’ hydrologists and toxicologists verified

   the presence of these chemicals in [the area] and the plaintiffs’ groundwater”).

          Instead, Plaintiffs rely on “preliminary” models run by an unnamed “expert” in air

   modeling that attempt to project ambient air concentrations of pollutants at 3,531 hypothetical

   “receptors” located in and around the putative class area from 2014-18 and then attempt to attribute

   those pollutants to each Defendant. SAC at 1 & ¶¶ 12-15, 150-65.2 Plaintiffs’ preliminary models

   are a black box. While the SAC alleges that the models are based on the location of burns as

   identified in Forest Service records, the SAC provides no details on any of the critically important

   inputs and assumptions Plaintiffs used or their methodology in making those decisions.


   2
     Plaintiffs primarily rely on an AERMOD modeling system developed in part by U.S. EPA to
   model air quality over a 130 km by 100 km grid. SAC ¶¶ 151-52. In doing so, Plaintiffs ignore
   U.S. EPA guidance that AERMOD models are appropriate only for distances of 50 km or less and
   are “unreliable” if used for greater distances. See 40 C.F.R. Part 51, App. W, §§ 4.1(c), 4.2(a).

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          Plaintiffs allege that the preliminary models demonstrate to a “high degree of certainty”

   that each Defendants’ burns emitted particulate matter and other pollutants that reached “every

   nook and cranny” of the putative class area and that Defendants’ burning cumulatively exceeds

   applicable NAAQS. Id. ¶¶ 12, 155, 165. The SAC focuses on 24-hour PM2.5 concentrations in

   particular and compares the projected concentrations spit out by Plaintiffs’ preliminary models to

   the NAAQS PM2.5 24-hour standard of 35 µg/m3. Id. ¶¶ 12, 156-58. Plaintiffs allege that the

   hypothetical receptors had “spectacularly high” 24-hour PM2.5 concentrations in each town—up to

   3,934, 9,783, 402, 208, 735, 11,987, and 7,022 µg/m3, respectively. Id. ¶¶ 18, 158. Further,

   Plaintiffs allege that over the course of five years, 99.8% of the receptors experienced at least one

   daily exceedance of the PM2.5 24-hour standard of 35 µg/m3. Id. ¶ 160 & Fig. 37.3

          Plaintiffs’ “spectacularly high” projections are flatly contradicted by, and do not even

   attempt to take into account, actual, publicly-available air monitoring data for the putative class

   area.4 With respect to 24-hour PM2.5 concentrations in Belle Glade, which is right in the middle of

   the putative class area, Plaintiffs’ model projects a range from 63 µg/m3 to as high as 3,934 µg/m3

   from 2014-18 (compared with the NAAQS of 35 µg/m3). SAC Ex. B at ECF p. 8 of 77. For many

   years now, however, the PBCHD has collected air quality data from a real life monitoring station

   in Belle Glade, the results of which are publicly-available through the Florida Department of




   3
     By using only the highest single-day projection produced by their model at each hypothetical
   receptor, Plaintiffs misuse the NAAQS PM2.5 24-hour standard of 35 µg/m3. The 24-hour PM2.5
   standard is a rolling average that must be calculated over 365 days of daily readings using the 98th
   percentile value during a year, averaged over 3 consecutive years. 40 C.F.R. Part 50, App. N,
   §§ 1.0(c), 4.2. The SAC does not include any attempt to run those calculations.
   4
     The Court may take judicial notice of publicly-available data on a motion to dismiss. See, e.g.,
   Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1278 (11th Cir. 1999) (court may take judicial notice
   of public records); Rubinstein v. Keshet Inter Vivos Trust, 2018 WL 8899230, at *4-5 (S.D. Fla.
   Oct. 17, 2018) (taking judicial notice of records on agency website); Nebraska v. EPA, 331 F.3d
   995, 998 n.3 (D.C. Cir. 2003) (taking judicial notice of information in EPA database).

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   Environmental Protection (“FDEP”). In contrast to Plaintiffs’ projected PM2.5 concentrations

   “several hundred” times larger than the 35 µg/m3 NAAQS (SAC ¶ 156), actual readings from the

   PBCHD monitoring station show that even the highest 24-hour PM2.5 concentrations in Belle Glade

   from 2014-18 were all well below 35 µg/m3. Ex. A (FDEP, Air Quality Monitoring, Highest

   Particle Pollution 2.5 Readings by Year, AQS # L099,0008, Belle Glade). In short:

                                   Plaintiffs’ Projected Lowest    PBCHD Actual
                                   & Highest 24-Hour PM2.5         5 Highest 24-Hour PM2.5
                                   Belle Glade (µg/m3)             Belle Glade (µg/m3)
    2014                           Highest – 780                   23 (August 18)
                                   Lowest – 99                     19.8 (June 10)
                                                                   19.5 (June 24)
                                                                   18.8 (May 24)
                                                                   18.6 (April 3)
    2015                           Highest – 1,068                 22.9 (July 5)
                                   Lowest – 77                     21.7 (March 20)
                                                                   19 (October 31)
                                                                   18.7 (March 19)
                                                                   18.7 (April 26)
    2016                           Highest – 3,934                 23.7 (March 7)
                                   Lowest – 81                     21.2 (April 20)
                                                                   20.5 (April 21)
                                                                   20.1 (May 3)
                                                                   19.3 (November 12)
    2017                           Highest – 766                   30.1 (May 29)
                                   Lowest – 131                    23.7 (October 22)
                                                                   19.9 (January 23)
                                                                   19.9 (September 20)
                                                                   19.9 (September 17)
    2018                           Highest – 319                   23.7 (March 6)
                                   Lowest – 63                     19.2 (March 20)
                                                                   18.9 (August 9)
                                                                   17.7 (August 8)
                                                                   15.4 (July 20)




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   Notably, there is no correlation between the highest actual readings recorded by the PBCHD in

   Belle Glade each year and the sugarcane burning season.5

           As U.S. EPA has explained, actual air quality data is “particularly useful in assessing the

   accuracy of model estimates.” 40 C.F.R. Part 51, App. W, § 1.0(b). Plaintiffs, however, never even

   acknowledge, let alone attempt to account for, publicly-available air quality data.

           The Court need not credit allegations in the SAC that are shown by publicly-available air

   quality data to be pure fiction. See, e.g., Campos v. I.N.S., 32 F. Supp. 2d 1337, 1343 (S.D. Fla.

   1998) (the court “need not accept factual claims” “which run counter to facts of which the court

   can take judicial notice”). Such allegations fail to “raise a right to relief above the speculative

   level.” Twombly, 550 U.S. at 570. The Court can rely on its “judicial experience and common

   sense” to conclude that a model so far out of line with actual, official data is insufficiently plausible

   to establish standing. Id. Conclusory numbers that are derived from an unexplained, black-box

   model and that are contradicted by government-collected, publicly-available data of which

   Plaintiffs take no account are not facts that must be credited, but are simply implausible

   conclusions. Iqbal, 556 U.S. at 678-80; see First Nationwide Bank v. Gelt Funding Corp., 27 F.3d

   763, 772 (2d Cir. 1994) (affirming dismissal because plaintiffs’ “methodology … is so defective,

   and the conclusions reached so defy logic, that no ‘reasonable inferences’ can be drawn

   therefrom,” and finding that “[n]o amount of detail can save [plaintiff’s] complaint when the detail

   is based on flawed and unreasonable methodologies that lead to unsupported conclusions”).




   5
    Burn season, Plaintiffs allege, begins in October and runs through March and sometimes as late
   as May. SAC ¶ 2. The actual 24-hour PM2.5 concentrations recorded in Belle Glade were often
   highest in June, July, August, and September, outside of even the longest burn season alleged by
   Plaintiffs.

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          Actual air quality data from plainly larger emission events confirms that Plaintiffs’

   unexplained projections are make believe. When Mount St. Helens erupted in 1980, air monitoring

   stations in the paths of the plumes recorded 24-hour total suspended particulates (“TSP”) as high

   as 33,000 µg/m3, “causing almost total darkness at times.”6 Yet according to Plaintiffs’ modeling

   projections, Pahokee experienced similar 24-hour TSP concentrations as high as 27,568 µg/m3

   (and 1-hour concentrations as high as 114,501, 4-hour as high as 101,037, and 8-hour as high as

   75,797 µg/m3). SAC Ex. B at ECF p. 65 of 77. Another example: the Camp Fire was the deadliest

   wildfire in California history and burned 150,000 acres in just over two weeks in November 2018.

   The highest 24-hour PM2.5 concentration recorded at air monitoring stations located in the vicinity

   of the Camp Fire was 411 µg/m3 (Ex. C (U.S. EPA, Monitor Values Report & Air Data

   Concentration Plot, Chico, California)), far lower than the highest 24-hour PM2.5 concentrations

   projected by Plaintiffs in the putative class area, which again, purportedly reached as high as

   11,987 µg/m3—allegedly from burning 40-80 acre tracts of sugarcane. SAC ¶¶ 122, 158. These

   comparisons show that Plaintiffs’ allegations do not cross the line into plausibility.

          Because Plaintiffs have failed to allege facts sufficient to establish their standing, this Court

   lacks subject matter jurisdiction over their claims and should dismiss the SAC in its entirety, with

   prejudice.

   II.    The SAC Fails To State A Battery Claim.

          In Count V, the SAC newly alleges a battery claim. Plaintiffs allege that sugarcane

   burning—an “acceptable agricultural practice” of the sort the RTFA is designed to protect (Coffie,

   2020 WL 2739724, at *5)—has resulted in “harmful and offensive contact” by allegedly exposing



   6
    Peter J. Baxter, Roy Ing, Henry Falk & Brian Plikaytis, Mount St. Helens Eruptions: The Acute
   Respiratory Effects of Volcanic Ash in a North American Community, Archives of Environmental
   Health: An International Journal, 38:3, at 140 (1983) (Ex. B).

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   Plaintiffs to pollutants without their consent. SAC ¶ 251. Plaintiffs further allege that Defendants

   “knew or should have known” that burning would release pollutants and expose Plaintiffs. Id.

   ¶ 252. Plaintiffs’ battery claim fails to state a claim and should be dismissed.

           A.     The RTFA Bars Plaintiffs’ Battery Claim.

           The Court previously dismissed Plaintiffs’ nuisance and trespass claims under the RTFA.

   Coffie, 2020 WL 2739724, at *4-6. Although the RTFA on its face applies to nuisance claims, the

   Court also applied the RTFA to bar Plaintiff’s trespass claim because it was little more than a

   “relabeled” nuisance claim. Id. at *5. But the Court declined to apply the RTFA to Plaintiffs’

   claims for negligence, strict liability under Fla. Stat. § 376.313, and medical monitoring because

   they were “not based solely on the nuisance aspect of pre-harvest burning.” Id.

           Plaintiffs’ battery claim is based on the nuisance aspect of sugarcane burning and is just a

   variation of Plaintiffs’ nuisance and trespass claims. For battery, Plaintiffs allege that burning

   caused “harmful and offensive contact” and “exposure without consent.” SAC ¶ 251. For trespass,

   Plaintiffs had similarly alleged that burning caused pollutants to “enter and contaminate” their

   properties and constituted “an unpermitted intrusion.” FAC ¶¶ 159-60. The only difference is that

   Plaintiffs’ battery claim involves contact to persons while Plaintiffs’ trespass claim involved

   contact to property. See, e.g., Bishop v. Hybud Equip. Corp., 536 N.E.2d 694, 697 (Ohio Ct. App.

   1988) (explaining that at common law, “[t]respass was the remedy for all forcible, direct and

   immediate injuries, whether occasioned to person or property,” and “[t]he present-day intentional

   tort of battery evolved from the common-law trespass for battery”); Johnson v. Paynesville

   Farmers Union Co-op Oil Co., 817 N.W.2d 693, 701 n.7 (Minn. 2012) (explaining how the

   common law tort of trespass split into four types of wrongs, including trespass vi et armis or assault

   or battery).



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          Like their dismissed trespass claim, Plaintiffs’ battery claim has the characteristics of a

   nuisance: conduct that “either annoys, injures, or endangers the comfort, health, repose or safety

   of the citizen, or which unlawfully interferes with or tends to obstruct, or in any way renders unsafe

   and unsecure other persons in life or in the use of their property.” Prior v. White, 80 So. 347, 355

   (Fla. 1938). Plaintiffs should not be allowed to do an end-run around the RTFA by belatedly

   asserting a battery claim after the Court dismissed their nuisance and trespass claims.

          B.      Plaintiffs Do Not Allege The Requisite Intent To State A Claim For Battery.

          Under Florida law, “[t]o establish a battery, a plaintiff must suffer a harmful or offensive

   contact, and the tortfeasor must have intended to cause such contact.” Chorak v. Naughton, 409

   So. 2d 35, 39 (Fla. Dist. Ct. App. 1981); see Hoyte v. Stauffer Chem. Co., 2002 WL 31892830

   (Fla. Cir. Ct. Nov. 2, 2002) (“‘a defendant must do a positive, affirmative act with the intent to

   cause an offensive contact with the plaintiff [and] the element of intent can only be established if

   the act is substantially certain to cause the offensive contact’”). The intent requirement is not

   satisfied where conduct merely “‘involves an unreasonable risk of inflicting’” offensive contact.

   City of Miami v. Sanders, 672 So. 2d 46, 47 (Fla. Dist. Ct. App. 1996).

          The SAC does not allege any facts to support a claim that each particular Defendant

   intended to batter Plaintiffs when they performed sugarcane burns—an “acceptable agricultural

   practice” (Coffie, 2020 WL 2739724, at *5)—under permits duly-issued by the Forest Service.

   Plaintiffs’ allegation that Defendants’ “knew or should have known” that burns would expose

   Plaintiffs to pollutants (SAC ¶ 252) is not enough as a matter of law. As discussed above, the SAC

   does not even allege that Plaintiffs lived in close proximity to burns performed by any particular

   Defendant. The SAC likewise does not allege any actual air monitoring data that could have

   somehow put Defendants on notice that their burning was emitting harmful levels of pollutants.



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   To the contrary, the publicly-available air monitoring data for Belle Glade gathered by the PBCHD

   consistently showed that local ambient air concentrations were well within NAAQS.

          Accordingly, neither each Defendants’ subjective intent, nor “substantial certainty” that

   each Defendants’ conduct would cause an offensive touching, are plausibly alleged. The battery

   claim should be dismissed. See, e.g., Major v. Astrazeneca, Inc., 2006 WL 2640622, *21

   (N.D.N.Y. Sept. 13, 2006) (dismissing battery claims and holding that even “[t]he intentional

   disposal of wastes on someone’s property is equivalent to an intentional physical contact with that

   person only if the disposer knows that the waste will contact that person”); In re Oil Spill by the

   Oil Rig Deepwater Horizon, 2011 WL 4575696, at *11 (E.D. La. Oct. 4, 2011) (allegation that

   defendants deliberately sprayed chemicals “in the vicinity” of plaintiffs did not state battery claim).

                                             CONCLUSION

          For the foregoing reasons, the Second Amended Complaint should be dismissed with

   prejudice.

   Dated: August 5, 2020                            Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 5th day of August, 2020, I filed the foregoing through the

   Court’s CM/ECF system, which sent notification to all counsel of record.

                                                        /s/ Gregor J. Schwinghammer, Jr.




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